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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       ANIBAL RODRIGUEZ, et al.,                           Case No. 20-cv-04688-RS (AGT)
                                                          Plaintiffs,
                                   8
                                                                                               DISCOVERY ORDER
                                                    v.
                                   9
                                                                                               Re: Dkt. No. 201
                                  10       GOOGLE LLC,
                                                          Defendant.
                                  11

                                  12             The plaintiffs seek a court order that would require Google to run additional ESI searches
Northern District of California
 United States District Court




                                  13   for the first five of Google’s twenty-four custodians. Having considered the parties’ respective

                                  14   positions, the Court orders Google to run the searches indicated below with an “X” in the column

                                  15   labeled “Google to Search.” For searches not marked with an “X,” the plaintiffs may propose new,

                                  16   narrower terms, but the terms currently proposed are overbroad. If the plaintiffs propose new terms,

                                  17   they must provide those terms to Google and the parties must meet and confer to discuss them before

                                  18   returning to the Court.

                                  19                                                                                                 Google to
                                           No.    Search Terms                                                                       Search:
                                  20
                                           1      “sWAA” OR WAA* (Monsees)1
                                  21
                                           2      “Web/App” (Monsees)                                                                X
                                  22
                                           3      “W&A” OR “W&AA” OR “W&AAs”                                                         X
                                  23
                                           4      “web history” (Monsees)                                                            X
                                  24
                                           5      Web /2 “app activity” (Monsees)                                                    X
                                  25
                                           6      “app activity” (Monsees)
                                  26
                                  27

                                  28
                                       1
                                        Wherever a custodian’s name is identified in parentheses at the end of a proposed search, the search should
                                       be run for that custodian.
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                                   1                                                                                                  Google to
                                           No.    Search Terms                                                                        Search:
                                   2
                                           7      SMH or “my history” or Myhistory
                                   3
                                           8      UDC or “User Data Controls”
                                   4
                                           9a     “activity controls” (Ganem, Ma, Hansen, Weng)                                       X
                                   5
                                           9b     “activity controls” (Monsees)
                                   6       10a    (user OR users OR consumer OR consumers OR people) /5 (confus* OR
                                   7              mislead*)
                                           10b    (user* OR consumer* OR customer* OR people*) /10 (confus* OR un-
                                   8              derst* OR misunderst* OR comprehen* OR misle* OR consent OR know                    X
                                                  OR represent* OR disclos*)
                                   9       11     “new ad control” OR “new ads control” OR “new ads controls” OR “new
                                                  ad controlling” OR “new ads controlling” OR “new ad controls” OR “new               X
                                  10
                                                  ad controlled” OR “new ads controlled” OR NAC
                                  11
                                           12     (apps /4 “use Google services”)                                                     X
                                  12
                                                  “help center”
Northern District of California




                                           13
 United States District Court




                                  13
                                           14a    “Privacy Policy” (Weng)                                                             X
                                  14
                                           14b    “Privacy Policy” (Monsees, Ganem, Ma, Hansen)
                                  15
                                           15a    CFS or “Consent Flow Service” (Weng)                                                X
                                  16
                                           15b    CFS or “Consent Flow Service” (Monsees, Ganem, Ma, Hansen)
                                  17
                                           16     “consent bump”
                                  18       17     Nxxx2 or Nxxx or Nxxx
                                  19       18a    “on or off” OR “switch the collection” (Weng)
                                                                                                                                      X
                                  20       18b    “on or off” OR “switch the collection” (Monsees, Ganem, Ma, Hansen)
                                                                                                                                      X
                                  21       19     (“on or off” OR “switch the collection”) AND (WAA” or “WAAH” or
                                                  “WAAs” or “sWAA” or “W&AA” or “W&AAs” or “web history” or
                                  22
                                                  “WHSH” or (Web pre/2 “App Activity”)) AND NOT (“Location History”)
                                  23              (Ganem, Ma, Monsees, Hansen)
                                           20a    (associat* /15 (user OR account OR profile)) AND (“GA4F” or “GA for
                                  24              Firebase” or “Google Analytics” or scion)                           X
                                           20b    associat* /15 (user OR account OR profile)
                                  25

                                  26
                                  27   2
                                        This term is an internal Google code name that the Court previously sealed. See ECF No. 186. It is abbre-
                                  28   viated to protect Google’s confidential information. “Kxxx” at row 26, and “Txxx” at row 28, are also internal
                                       code names that will be sealed.
                                                                                             2
                                            Case 3:20-cv-04688-RS Document 208 Filed 01/20/22 Page 3 of 5




                                   1                                                                                           Google to
                                           No.   Search Terms                                                                  Search:
                                   2       21a   “activity data” (Hansen, Weng)
                                                                                                                               X
                                   3       21b   “activity data” (Monsees, Ma, Ganem)
                                   4       22a   “app data” (Weng)
                                                                                                                               X
                                   5       22b   “app data” (Monsees, Ma, Ganem, Hansen)
                                   6       23a   PII (Weng)
                                                                                                                               X
                                   7       23b   PII (Monsees, Ma, Ganem, Hansen)
                                   8       24    personal* /5 info*
                                   9       25    Zwieback OR Biscotti
                                  10       26    Kxxx
                                  11       27    GAIA
                                  12             Txxx
Northern District of California




                                           28
 United States District Court




                                  13       29    Footprint*
                                  14
                                           30    BigQuery
                                  15
                                           31    Sawmill
                                  16
                                           32    Firelog or Firedata or Firestore
                                  17
                                           33    Plog OR “personal log” or GWS
                                  18
                                           34    UUAD OR “Unified user App Data”
                                  19
                                           35    IDFA or ADID
                                  20
                                           36    (Id OR Ids) /5 (app OR apps OR ad OR ads OR advertising OR advertise-
                                  21             ment OR device OR instance OR user OR android OR ios)
                                           37a   AdMob /15 (Gold OR GA4F OR WAA or WAAH or WAAs or sWAA or
                                  22             “W&AA” or “W&AAs” OR “my activity” OR “Google mobile service”
                                                 OR GMS) (Ganem, Monsees, Ma, Hansen)
                                  23
                                           37b   AdMob [AND] /153 (Gold OR analytics OR GA4F OR scion OR firebase
                                  24             OR (app* /5 (event OR interact* OR activity OR measure*)) OR appmeas- X
                                                 urement OR *WAA* OR “my account” or “my activity” OR perform* OR
                                  25             conversion* OR event OR audience OR FCM OR “cloud messaging” OR
                                                 “Google mobile service” OR GMS OR Clearcut OR “Google Mobile Plat-
                                  26             form” OR GMP) (Ganem, Monsees, Ma, Hansen)
                                  27

                                  28
                                       3
                                        The plaintiffs proposed the use of the “AND” connector instead of the “/15” connector. The “AND” con-
                                       nector would lead to an overbroad search, so Google should use the “/15” connector instead.
                                                                                         3
                                            Case 3:20-cv-04688-RS Document 208 Filed 01/20/22 Page 4 of 5




                                   1                                                                                                Google to
                                           No.    Search Terms                                                                      Search:
                                   2       38a    AdMob /15 Gold (Weng)
                                                                                                                                    X
                                   3       38b    AdMob and Gold (Weng)
                                   4       39a    AdMob /15 (firebase OR ((app or apps or application or applications) /5
                                                  (event OR activity OR measure*)) OR appmeasurement OR “Google mo-
                                   5              bile service” OR GMS) (Weng)
                                   6       39b    AdMob [/50] /154 (firebase OR scion (app* /5 (event OR interact* OR ac-
                                                  tivity OR measure*)) OR appmeasurement OR perform* OR conversion* X
                                   7              OR event OR audience OR “Google mobile service” OR GMS OR Clear-
                                                  cut OR “Google Mobile Platform” OR GMP) (Weng)
                                   8       40a5   (FCM or “cloud messaging”) /15 (Gold OR analytics OR GA4F OR
                                                  “Google mobile service” OR GMS) (Ma/Hansen)
                                   9
                                           40b    (FCM or “cloud messaging”) AND (Gold OR analytics OR GA4F OR
                                  10              firebase OR scion OR (app* /5 (event OR interact* OR activity OR meas-
                                                  ure*)) OR appmeasurement OR *WAA* OR “my account” or “my activ-
                                  11              ity” OR perform* OR conversion* OR event OR audience OR AdMob OR
                                                  “Google mobile service” OR GMS OR Clearcut OR “Google Mobile Plat-
                                  12              form” OR GMP) (Ma)
Northern District of California
 United States District Court




                                  13       40c    (FCM or “cloud messaging”) /10 (Gold OR analytics OR GA4F OR fire-
                                                  base OR scion OR (app* /5 (event OR interact* OR activity OR meas-
                                  14              ure*)) OR appmeasurement OR “my account” or “my activity” OR per-
                                                  form* OR conversion* OR event OR audience OR AdMob OR “Google
                                  15              mobile service” OR GMS OR Clearcut OR “Google Mobile Platform” OR
                                                  GMP) (Hansen)
                                  16       41     (“real time” /20 bid*) OR RTB
                                                                                                                          X
                                  17
                                           42     “App Indexing” /50 (“my account” OR “my activity” OR (“WAA*” OR
                                                  “sWAA”))                                                                X
                                  18
                                           43a6   (“Google Mobile Service” OR GMS) /25 (Gold OR analytics OR GA4F
                                  19              OR firebase) AND (log* OR user /2 data OR measurement)
                                  20

                                  21
                                       4
                                        The plaintiffs proposed the use of the “/50” connector instead of the “/15” connector. The “/50” connector
                                       would lead to an overbroad search, so Google should use the “/15” connector instead.
                                  22   5
                                         The Court needs more information to evaluate whether Google should run 40a (Google’s proposal), or 40b
                                  23   and 40c (the plaintiffs’ proposal). To plaintiffs: explain why all the terms in 40b and 40c are needed, and
                                       why an “AND” connector should be used for 40b. To plaintiffs and Google: explain in more detail where
                                  24   Ma and Hansen are located within Google’s org chart and how their roles are different. To Google: explain
                                       what’s wrong with the search terms and connectors proposed for 40b and 40c. The parties should answer
                                  25   these questions by January 28, 2022.
                                       6
                                  26    The Court needs more information to evaluate whether Google should run 43a (Google’s proposal), or 43b
                                       and 43c (the plaintiffs’ proposal). To plaintiffs: explain why all the terms in 43b and 43c are needed, and
                                  27   why an “AND” connector should be used for 43b. To plaintiffs and Google: explain in more detail where
                                       Ganem, Monsees, and Weng are located within Google’s org chart and how their roles are different. To
                                  28   Google: explain what’s wrong with the search terms and connectors proposed for 43b and 43c. The parties
                                       should answer these questions by January 28, 2022.
                                                                                           4
                                          Case 3:20-cv-04688-RS Document 208 Filed 01/20/22 Page 5 of 5




                                   1                                                                                   Google to
                                        No.    Search Terms                                                            Search:
                                   2
                                        43b    (Analytics OR firebase OR GA4F OR Scion OR “Google Mobile Plat-
                                   3
                                               form” OR GMP) AND (Gold OR app! /5 (event OR interact! OR activity
                                   4           OR measure!)) OR !WAA! OR “my account” OR “my activity” OR per-
                                               form! OR conversion! OR event OR audience OR AdMob OR FCM OR
                                   5           “Cloud Messaging” OR appmeasurement OR “Google mobile service” OR
                                               GMS OR Clearcut) (Ganem)
                                   6
                                        43c    (“Google Mobile Service” OR GMS OR Clearcut) /10 (Gold OR analytics
                                   7           OR GA4F OR firebase OR scion OR “Google Mobile Platform” OR GMP
                                               OR (app! /5 (event OR interact! OR activity OR measure!)) OR appmeas-
                                   8           urement OR !WAA! OR “my account” or “my activity” OR perform! OR
                                               conversion! OR event OR audience OR FCM OR “cloud messaging” or
                                   9           AdMob OR Clearcut) (Ma/Monsees/Hansen/Weng)
                                  10

                                  11          IT IS SO ORDERED.
                                  12
Northern District of California




                                       Dated: January 20, 2022
 United States District Court




                                  13

                                  14

                                  15                                                          ALEX G. TSE
                                                                                              United States Magistrate Judge
                                  16

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